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                                        Certificate of Service

       This is to certify that I have this day filed a true and correct copy of the within and foregoing
with the Clerk of Court using the CM/ECF system which will automatically send e-mail notification
of such filing to the following:

                                     Office of the U.S. Trustee
                              362 Richard B. Russell Federal Building
                                       75 Spring Street, SW
                                      Atlanta, Georgia 30303

       This 9th day of October, 2015.

                                               /s/ Will B. Geer
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